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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO

WESTERN DIVISION
PRATIBHA NIGAM,
Plaintiff, Case No. 3:17-cy-329
v. : Judge Rice
WRIGHT STATE UNIVERSITY, Magistrate Judge Merz
Defendant.

STIPULATED PROTECTIVE ORDER AND ORDER FOR RELEASE OF
DISCOVERABLE MATERIALS OTHERWISE COVERED BY THE PRIVACY
ACT, FAMILY EDUCATIONAL RIGHTS AND PRIVACY ACT, AND HEALTH
INSURANCE PORTABILITY AND ACCOUNTABILITY ACT

The parties expect the disclosure of documents in this case to involve the exchange of
sensitive information, including, inter alia, medical information, personally identifying
information with respect to students or employees, education records, and other information that
may be covered by the Health Insurance Portability and Accountability Act (HIPAA), Family
Educational Rights and Privacy Act (FERPA), 20 U.S.C. § 1232g, 34 C.F.R. Part 99, or other
federal or state law. In order to permit discovery, the parties stipulate and agree to, and the
Court finds good cause for, entry of a Protective Order and Order for Release of discoverable
materials otherwise protected by HIPAA, FERPA or other law pursuant to Federal Rule of Civil
Procedure 26(c).

It is hereby ordered that:

1. Scope. All documents produced in the course of discovery, including initial
disclosures, all responses to discovery requests, all deposition testimony and exhibits, other

materials which may be subject to restrictions on disclosure for good cause and information

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confidential information is contained in or otherwise derived from confidential materials, any
portion that consists solely of non-confidential information shall not be confidential for purposes
of this Order.

4, Depositions. Deposition testimony shall be deemed CONFIDENTIAL —
SUBJECT TO PROTECTIVE ORDER only if designated as such. Such designation shall be
specific as to the portions of the transcript or any exhibit to be designated as CONFIDENTIAL —
SUBJECT TO PROTECTIVE ORDER. Counsel for any party in this case may designate
deposition testimony or any portion of deposition testimony as confidential by advising the court
reporter and counsel of such designation during the course of the deposition. Thereafter, the
deposition transcripts and any of those portions so designated shall be protected as
CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER, pending objection, under the terms
of this Order.

5. Medical Information. The parties shall treat as confidential any information
related to the medical condition, history and/or treatment of any person identified by the parties
as having information relevant to this litigation, regardless of the method by which such
information was obtained and regardless of whether such information has been disclosed in any
manner prior to the date of this Order. Without limiting the foregoing, any of the parties’
discovery requests or responses that reference, contain, or attach information or documents
related to such medical condition, history and/or treatment are hereby designated as confidential
and subject to the provisions of this Order. The fact that such information is not marked as
CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER or that it was received by a third
party or disclosed prior to the entry of this Protective Order shall not alter the parties’ obligations

under this paragraph.
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6. Protection of Confidential Material.

a. General Protections. Documents designated CONFIDENTIAL —-
SUBJECT TO PROTECTIVE ORDER under this Order shall not be used or disclosed by
the parties, counsel for the parties or any other persons identified in § 6(b) for any
purpose whatsoever other than to prepare for and to conduct discovery and trial in this
action including any appeals.

b. Limited Third-Party Disclosures. The parties and counsel for the parties
shall not disclose or permit the disclosure of any CONFIDENTIAL — SUBJECT TO
PROTECTIVE ORDER documents to any third person or entity except as set forth in
subparagraphs (i)-(vii). Subject to these requirements, the following categories of
persons may be allowed to review documents that have been designated
CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER:

i. Counsel. Counsel for the parties and employees and agents of
counsel who have responsibility for the preparation and trial of the action;

ii. Parties. Parties and employees of a party to this Order;

iii. Court Reporters and Recorders. Court reporters and recorders
engaged for depositions;

iv. Mediators. Any mediator used to attempt resolution of this
litigation;

Vv. Witnesses. Witnesses or potential witnesses (and their counsel) in
preparation for or during the course of depositions, hearings, interviews, or trial in
this action, but only if permitted by HIPAA, FERPA or other law and after

notifying opposing counsel of such disclosure and giving opposing counsel a
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reasonable amount of time to object. In addition, such persons shall, in advance
of disclosure, complete the certification contained in Attachment A,
Acknowledgment of Understanding and Agreement to Be Bound;
Vi. Designated Experts. Designated experts (hereinafter referred to
collectively as “experts”) employed by the parties or counsel for the parties to
assist in the preparation and trial of this action or proceeding, but only after such
persons have completed the certification contained in Attachment A,
Acknowledgment of Understanding and Agreement to Be Bound; and
vii. Others by Consent. Other persons only by written consent of the
producing party or upon order of the Court and on such conditions as may be
agreed or ordered. All such persons shall execute the certification contained in
Attachment A, Acknowledgment of Understanding and Agreement to Be Bound.
c. Control of Documents. Counsel for the parties shall take reasonable and
appropriate measures to prevent unauthorized disclosure of documents designated as
CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER pursuant to the terms of this
Order. Counsel shall maintain the originals of the forms signed by persons
acknowledging their obligations under this Order for a period of one (1) year after
dismissal of the action, the entry of final judgment and/or the conclusion of any appeals
arising therefrom.

d. Copies. Prior to production to another party, all copies, electronic images,
duplicates, extracts, summaries or descriptions (hereinafter referred to collectively as
“copies”) of documents designated as CONFIDENTIAL — SUBJECT TO PROTECTIVE

ORDER under this Order, or any individual portion of such a document, shall be affixed
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with the designation “CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER?” if the

words do not already appear on the copy. All such copies shall thereafter be entitled to

the protection of this Order.

e. Inadvertent Production. Inadvertent production of any document or
information without a designation of “CONFIDENTIAL — SUBJECT TO PROTECTIVE
ORDER” shall be governed by Federal Rule of Evidence 502.

7. Filing of CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER
Documents Under Seal. To the extent that a brief, memorandum, pleading, or other court
filing references any document marked as CONFIDENTIAL —- SUBJECT TO PROTECTIVE
ORDER, then the brief, memorandum, pleading, or other court filing shall refer the Court to the
particular document filed under seal without disclosing the contents of any confidential
information.

a. Before any document marked “CONFIDENTIAL -— SUBJECT TO
PROTECTIVE ORDER?” is filed under seal with the Clerk, the filing party shall first
consult with the party that originally designated the document as CONFIDENTIAL —
SUBJECT TO PROTECTIVE ORDER to determine whether, with the consent of that
party, the document or a redacted version of the document may be filed with the Court
not under seal.

b. Where agreement is not possible or adequate, a CONFIDENTIAL —
SUBJECT TO PROTECTIVE ORDER document shall be filed in accordance with Local
Rule 5.2.1 (Sealed Documents) of the United States District Court for the Southern
District of Ohio and any other procedures set forth in the presiding judge’s standing

orders or other relevant orders.
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C. To the extent that it is necessary for a party to discuss the contents of any
confidential information in a document filed with the Court, then such portion of the
document may be filed under seal with leave of Court. In such circumstances, counsel
shall prepare two versions of the document, a public and a confidential version. The
public version shall contain a redaction of references to CONFIDENTIAL — SUBJECT
TO PROTECTIVE ORDER documents. The confidential version shall be a full and
complete version of the document and shall be filed under seal in accordance with Local
Rule 5.2.1 (Sealed Documents) of the United States District Court for the Southern
District of Ohio and any other procedures set forth in the presiding judge’s standing
orders or other relevant orders.

8. Challenges by a Party to Designation as Confidential. Any CONFIDENTIAL
—- SUBJECT TO PROTECTIVE ORDER designation is subject to challenge by any party or
nonparty with standing to object (hereafter “party”). Before filing any motions or objections to a
confidentiality designation with the Court, the objecting party shall have an obligation to meet
and confer in a good faith effort to resolve the objection by agreement. The parties shall meet and
confer within twenty (20) business days of receipt of the objection. If agreement is reached
confirming or waiving the CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER
designation as to any documents subject to the objection, the designating party shall serve on all
parties a notice specifying the documents and the nature of the agreement.

9, Action by the Court. Any party to the above-captioned case may petition this
Court concerning a violation of this Order and request any available remedies, including, but not
limited to, contempt proceedings. Applications to the Court for an order relating to any

documents designated CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER shall be by
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motion under Local Rule 7.2 and any other procedures set forth in the presiding judge’s standing
orders or other relevant orders. Nothing in this Order or any action or agreement of a party
under this Order limits the Court’s power to make any orders that may be appropriate with
respect to the use and disclosure of any documents produced or used in discovery or at trial.

10. Use of Confidential Documents or Information at Trial. All trials are open to
the public. Absent order of the Court, there will be no restrictions on the use of any document
that may be introduced by any party during the trial. If a party intends to present at trial
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER documents or information derived
therefrom, such party shall provide advance notice to the other party at least five (5) days before
the commencement of trial by identifying the documents or information at issue as specifically as
possible (i.e., by Bates number, page range, deposition transcript lines, etc.). The Court may
thereafter make such orders as are necessary to govern the use of such documents or information
at trial.

11. Information Made Public or Received from a Third Party. Notwithstanding
anything to the contrary herein, the parties to the above captioned case shall have no obligation
under this Order with respect to information that:

a. Is or becomes publicly available (except as by unauthorized disclosure);
or
b. Is received from a third-party who is rightfully in possession of such

information and who has the right to disclose it.
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12. Obligations on Conclusion of Litigation.

a. Order Remains in Effect. Unless otherwise agreed or ordered, this Order
shall remain in force after dismissal or entry of final judgment not subject to further
appeal.

b. Return or Destruction of CONFIDENTIAL - SUBJECT TO
PROTECTIVE ORDER Documents. Within thirty (30) days after dismissal or entry of
final judgment not subject to further appeal, all documents treated as CONFIDENTIAL —-
SUBJECT TO PROTECTIVE ORDER under this Order, including copies as defined in J
6(d), shall be returned to the producing party or the producing party’s counsel or
representative or destroyed, unless: (1) otherwise ordered by the Court for good cause
shown, (2) the return or destruction of such materials is prohibited by law, or (3) the
document has been offered into evidence or filed without restriction as to disclosure

C. Return of Documents Filed under Seal. After dismissal or entry of final
judgment not subject to further appeal, the Clerk may elect to return to counsel for the
party who originally produced the documents filed under seal or, after notice, destroy
documents filed or offered at trial under seal or otherwise restricted by the Court as to
disclosure.

13. Order Subject to Modification. This Order shall be subject to modification by
the Court on its own motion or on motion of a party or any other person with standing
concerning the subject matter. Motions to modify this Order shall be served and filed under
Local Rule 7.1, 7.2 and the presiding judge’s standing orders or other relevant orders.

14. No Prior Judicial Determination. This Order is entered based on the

representations and agreements of the parties and for the purpose of facilitating discovery.
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Nothing herein shall be construed or presented as a judicial determination that any documents or
information designated CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER by counsel
or the parties is subject to protection under Rule 26(c) of the Federal Rules of Civil Procedure or
otherwise until such time as the Court may rule on a specific document or issue.

15. No Superseded Laws. This Order in no way alters or supersedes the parties’
responsibilities under this Court’s Electronic Filing Policies and Procedures, or any other
applicable confidentiality laws, rules or regulations.

16. Persons Bound. This Order shall take effect when entered and shall be binding
upon all counsel and their law firms, the parties, and persons made subject to this Order by its
terms.

17. Further Limits of this Order. Entering into, agreeing to, and/or complying with
the terms of this Order shall not:

a. Prejudice in any way the rights of any party to object to the production of
documents or information it considers non-discoverable, or to seek a Court
determination whether particular discovery materials should be produced;

b. Prejudice a party from seeking modification or rescission of this Protective
Order;

c. Prejudice a party from seeking further protection of any confidential
information; or

d. Prevent a party from objecting on any ground to the admission into
evidence, at any trial, hearing, or public proceeding in this matter, of any type or

classification of information produced or disclosed pursuant to this Order.

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18. Nothing in this Order shall prevent non-parties from asserting their own privacy

rights in documents held by the parties, including but not limited to those rights provided by

FERPA, nor shall this Order prevent Defendants from fulfilling the obligations and

responsibilities regarding student privacy placed on them by FERPA.

IT IS HEREBY ORDERED.

Dated: @-F-18

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UNITED STATES MAGISTRAEE JUDGE
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WE SO STIPULATE and agree to abide by the terms of this Order

s/ Mark A. Weiker per 7/30/18 email authorization

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Counsel for Plaintiff

WE SO STIPULATE and agree to abide by the terms of this Order

s/ Reid T. Caryer

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Counsel for Defendant

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Attachment A

IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION

PRATIBHA NIGAM,
Plaintiff,

v. : STIPULATED PROTECTIVE
: ORDER
WRIGHT STATE UNIVERSITY,

Defendant.

ACKNOWLEDGMENT OF UNDERSTANDING AND
AGREEMENT TO BE BOUND

The undersigned hereby acknowledges that he/she has read the Protective Order
dated in Pratibha Nigam v. Wright State University, Civil Action No.
3:17-cv-329 (S.D. Ohio) and attached hereto, understands the terms thereof, and agrees to be
bound by its terms. The undersigned submits to the jurisdiction of the United States District
Court for the Southern District of Ohio in matters relating to the Protective Order and
understands that the terms of the Protective Order obligate him/her to use documents designated
CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER in accordance with the Order solely
for the purposes of the above-captioned action, and not to disclose any such documents or
information derived directly therefrom to any other person, firm or concern.

The undersigned acknowledges that violation of the Protective Order may result in
penalties for contempt of court.

Dated:

(Signature)

(Print Name)

(Job Title)

(Home or Business Address)

(Home or Business Address Continued)
